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Los ANGELES, CALIFORNIA 90071

Case

 

2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page lof9 Page ID #:160

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Attorneys for Plaintiff
XPO LOGISTICS FREIGHT, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

XPO LOGISTICS FREIGHT, INC.,a | CASE NO. 2:16-cv-05915 MWF (AFMx)
Delaware corporation,

Plaintiff, JOINT RULE 26(F) REPORT
V. [Hon. Michael W. Fitzgerald]
GINGER GALVEZ, an individual, Scheduling Conference Date:

November 7, 2016 at 11 a.m.
Action Filed: August 8, 2016

Defendant.

 

 

Plaintiff XPO Logistics Freight, Inc. (‘Plaintiff’ or “XPO”) and Defendant
Ginger Galvez (“Defendant” or “Galvez’”) (collectively the “Parties”) jointly submit
this report in accordance with this Court’s Order [DKT No. 21] and Rule 26(f) of the
Federal Rules of Civil Procedure.

a. STATEMENT OF THE CASE

Plaintiff: This case arises out of the illegal actions of Defendant Galvez, who
Plaintiff XPO contends wrongfully used of XPO’s confidential and trade secret
information to solicit XPO’s customers and compete with XPO in violation of her
employment agreement with XPO and the California Uniform Trade Secrets Act.
Plaintiff brought causes of action against Galvez for breach of contract and

misappropriation of trade secrets on August 8, 2016.

-l-
JOINT RULE 26(F) REPORT

 

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2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page 2of9 Page ID#:161

On May 13, 2016, Galvez resigned her employment as a National Account
Executive with XPO. Shortly thereafter, Galvez joined XPO’s competitor, R+L
Carriers, Inc. (“R+L”), and immediately began soliciting XPO’s customers on behalf
of R+L. [See Plaintiff's Complaint, ECF No. 1 (“Complaint”), 3]. Galvez executed
an Employment Agreement, pursuant to which she agreed to keep confidential
information and trade secrets confidential, and to refrain from using confidential
information and trade secrets to solicit her former customers and to compete against
XPO. [Complaint., § 47, Ex. 1]. Before resigning from XPO, Galvez removed a
substantial amount of confidential and trade secret information from XPO, including
sending numerous emails to her personal email address containing detailed customer
and pricing information for approximately 25,000 of XPO’s customers. [Complaint,
{4]. Galvez breached this agreement, and XPO policies, by using XPO’s
confidential information and trade secrets to solicit XPO’s customers and to compete
with XPO, by not returning XPO’s confidential information to XPO upon her
resignation, and by disclosing XPO’s confidential information and trade secrets to
R+L. [Complaint, ¥ 48].

This is not the first time R+L hired a former XPO employee who wrongly used
XPO’s confidential and trade secret information to R+L’s benefit. In fact, XPO sued
R+L and three former XPO employees currently employed by R+L in the Eastern
District of Michigan for misappropriation of trade secrets, breach of employment
agreements, tortious interference with the employment agreements by R+L, and
unfair competition, among other things. See XPO CNW, Inc. et al v. R&L Carriers,
Inc., et al, E.D. Mich. Case No. 2:16-cv-10391-RHC-SDD (the “Michigan Lawsuit”).
R+L is subject to an agreed injunction in that case prohibiting it from using any
confidential information obtained through those three former XPO employees.

Defendant: Plaintiffs allegations of wrongdoing by Galvez are meritless. In
accordance with XPO’s accepted business practices, long before she ever thought of

leaving her employment with the company, Galvez sent a limited number of emails

-2-
JOINT RULE 26(F) REPORT
2612854V.1

 

 
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2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page 3o0f9 Page ID #:162

with attachments from her email account with XPO to her personal email account in
order to assist her in the work she was performing while traveling on behalf of XPO.
Galvez has never used confidential XPO information or trade secrets to solicit clients
or compete against XPO. Most, if not all, of the customers of XPO that Galvez has
contacted since leaving the company were existing customers of R+L.

Galvez recently learned that, after leaving her employment with XPO and
while she was an employee of R+L, XPO continued to send email messages to
customers (at least some of whom are also customers of R+L) wrongfully using her
name and former company email address to solicit additional business from the
customers on behalf of XPO. This practice constitutes a violation of her right to
privacy (misappropriation of her name) and violations of California Business &
Professions Code §§ 17200 and 17500.

XPO has agreed to stipulate to allow Galvez to file a cross-complaint against it
in this action, and she anticipates filing the cross-complaint in advance of the
Scheduling Conference on November 7, 2016.

b. SUBJECT MATTER JURISDICTION

This Court has subject matter jurisdiction under 28 U.S.C. §§ 1332 (diversity)
because Plaintiff is a citizen of Delaware, Defendant is a citizen of California, and the
amount in controversy exceeds $75,000.

c. LEGAL ISSUES
Plaintiff: Not applicable at this time.
Defendant: Not applicable at this time.

d. PARTIES, EVIDENCE, ETC.

 

Parties:

Plaintiff XPO Logistics (formerly Con-Way Freight, Inc.) ;
Defendant Ginger Galvez; and

Defendant’s current employer R + L Carriers, Inc.

Percipient Witnesses:

-3-
JOINT RULE 26(F) REPORT
2612854V.1

 
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2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page 4of9 Page ID #:163

Plaintiff;

Plaintiff's representatives and current and former employees;

Defendant;

R+L Carriers, Inc., its representatives and current and former employees;

Third Parties Listed On Defendant’s Listing of Contacted Clients served on

September 29, 2016;

Salesforce, its representatives and current and former employees.

Key Documents:

The approximately 4,000 electronic documents produced by Galvez with “hits”

against Plaintiff's key word;

Documents reflecting confidential and trade secret information that Plaintiff

contends Galvez took from it and has failed to return;

Communications between the parties and their representatives;

Communications between Galvez and former / existing XPO clients;

Communications between XPO and XPO clients using Galvez’ name and email

address after she left her employment with XPO.

e. DAMAGES

Plaintiff:

Plaintiff claims actual damages, in an amount to be determined at trial, in
excess of $75,000.00 along with interest, costs, and attorneys’ fees as allowable by
law, including pursuant to Cal. Civil Code § 3426.4, as well as exemplary damages
pursuant to Cal. Civil. Code § 3426.3(c), and for prejudgment and post judgment
interest at the maximum legal rate as an element of damages. Discovery is ongoing.

Defendant: Galvez denies that she breached any contract with XPO and that
she wrongfully took any confidential information or trade secrets from the company
when she resigned her employment. As a result, she denies that XPO has suffered or
can recover any damages of any type in any amount. Investigation and discovery are

continuing.

-4-
JOINT RULE 26(F) REPORT
2612854V.1

 

 
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2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page5of9 Page ID #:164

On the anticipated cross-complaint, Galvez will claim actual damages, in an
amount to be determined at trial, in excess of $75,000.00 along with interest, costs,
and attorneys’ fees as allowable by law, as well as exemplary damages pursuant to
Cal. Civil. Code § 3426.3(c), and for prejudgment and post judgment interest at the
maximum legal rate as an element of damages.

f. INSURANCE

The parties are unaware of any insurance applicable to this case to satisfy a
possible judgment or indemnify or reimburse payments made to satisfy a possible
judgment.

g. MOTIONS

Plaintiff: Plaintiff does not currently anticipate any motions seeking to add
other parties or claims, file amended pleadings, transfer venue, etc.

Defendant: Galvez anticipates filing a stipulation for leave to file a cross-
complaint and a cross-complaint against XPO for violation of her right to privacy
(misappropriation of her name) and violations of California Business & Professions
Code §§ 17200 and 17500.

h. MANUAL FOR COMPLEX LITIGATION
The procedures of the Manual for Complex Litigation should not be utilized.
i. STATUS OF DISCOVERY

The Parties anticipate exchanging Initial Disclosures at or within 14 days of
their Rule 26(f) conference, which took place on October 17, 2016. No other
discovery has taken place.

j- DISCOVERY PLAN

Plaintiff:

On August 10, 2016, Plaintiff filed a motion for a preliminary injunction
seeking to enjoin and restrain Galvez from further misappropriating XPO’s trade
secret information and retaining confidential information in violation of her

employment agreement and XPO policies. [Motion For Preliminary Injunction, ECF

-5-
JOINT RULE 26(F) REPORT
2612854V.1

 

 
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2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page 6o0f9 Page ID #:165

No. 10]. Defendants agreed to stipulate to a preliminary injunction, which was
ordered by the Court on September 15, 2016. [See Order, ECF No. 18]. Pursuant to
the Order, Defendant has submitted her personal electronic data to an independent,
third party forensic company for analysis. The analysis resulted in approximately
4,000 documents that contained “hits” on search terms created by Plaintiff. These
documents are currently under review for privilege by Defendant’s counsel, who
anticipates producing all responsive, non-privileged material to Plaintiff on or before
November 1, 2016.

Plaintiff anticipates propounding Requests for Admissions, Requests for
Production of Documents, and Special Interrogatories. In propounding said
discovery, Plaintiff seeks information regarding Defendant’s use of Plaintiff's
proprietary and confidential trade secret information. Plaintiff also anticipates
undertaking certain third party discovery the same. No changes in the disclosures
under Rule 26(a) should be made and discovery should not be conducted in phases or
otherwise limited. Applicable limitations should not be changed. No other
limitations should be imposed.

Defendant: Galvez’ counsel is currently reviewing the electronic documents
that contained “hits” based on the search terms created by Plaintiff, and Galvez will
produce all relevant, non-privileged documents materials to Plaintiff. Galvez
anticipates propounding Requests for Admissions, Requests for Production of
Documents, and Special Interrogatories. In propounding said discovery, Galvez will
seek information regarding XPO’s customer pricing and tariffs and information about
XPO’s solicitation of customers using her name and email address after she resigned
her employment with the company. Galvez also anticipates undertaking certain third
party discovery regarding the same subject areas, including the issuance of subpoenas
to salesforce.com. No changes in the disclosures under Rule 26(a) should be made
and discovery should not be conducted in phases or otherwise limited. Applicable

limitations should not be changed. No other limitations should be imposed.

-6-
JOINT RULE 26(F) REPORT
2612854V.1

 

 

 
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2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page 7of9 Page ID #:166

k. DISCOVERY CUT-OFF
The parties propose October 13, 2017 as the last day to hear discovery motions.
]. EXPERT DISCOVERY

Plaintiff's initial expert witness disclosures: June 23, 2017

Defendant’s initial expert witness disclosures: June 23, 2017

Both parties’ rebuttal expert witness disclosures: July 14, 2017

Expert Discovery Cut-Off: August 29, 2017

m. DISPOSITIVE MOTIONS

Plaintiff: Plaintiff anticipates filing a motion to dismiss Defendant’s
anticipated counterclaims and/or a motion for Summary Judgement at the end of
discovery as to Defendant’s counterclaims.

Defendant: Galvez anticipates filing a motion for summary judgment at the
end of discovery as to all of Plaintiffs claims.

n. SETTLEMENT/ALTERNATIVE DISPUTE RESOLUTION (ADR)

The parties have not exchanged informal offers of settlement. The parties
prefer private mediation. The parties are also open to a settlement conference before
a magistrate judge.

o. TRIAL ESTIMATE
Plaintiff: Plaintiff has demanded a jury trial. Plaintiff estimates a 10 day trial.
Defendant: Galvez also estimates a 10 day trial.
p. TRIAL COUNSEL
Plaintiff: Jeffrey Huron, Esq. and Jason Riddick, Esq.
Defendant: David S. Eisen, Esq. and Adam Le Berthon, Esq.
q. INDEPENDENT EXPERT OR MASTER

This is not a case where the Court should consider appointing a master

pursuant to Rule 53 or an independent scientific expert.
r. TIMETABLE

See attached Schedule.

-7-
JOINT RULE 26(F) REPORT
2612854V.1

 

 
Case|[2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page 8o0f9 Page ID #:167

 

 

 

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1 s. OTHER ISSUES
2 There are no other issues affecting the status or management of the case at this
3 || time.
4|| Dated: October 24, 2016 Respectfully submitted
5 DYKEMA GOSSETT LLP
6 By: s/
JEFFREY HURON, ESQ.
7
JASON RIDDICK, ESQ.
8 ATTORNEYS FOR PLAINTIFF
9 XPO LOGISTICS FREIGHT, INC.
10 WILSON ELSNER MOSKOWITZ
Ml EDELMAN & DICKER LLP
12 By: s/
3 DAVID EISEN, ESQ.
ADAM LE BERTHON, ESQ.
14 ATTORNEY FOR DEFENDANT
15 GINGER GALVEZ
16
17
18 L. R. 5-4.3.4(a)(2)(i) Attestation
19 I, the filer of this document, attest that all other signatories listed, and on whose

20 || behalf the filing is submitted, concur in the filing’s content and have authorized the

 

21 || filing.
22 .
Date: October 2 2016 WILSON ELSNER MOSKOWITZ

23 EDELMAN & DICKER LLP

24

25 By: /s

36 ADAM LEBERTHON, ESQ.
ATTORNEY FOR DEFENDANT

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-8-
JOINT RULE 26(F) REPORT
2612854V.1

 

 

 
Case 2:16-cv-05915-MWF-AFM Document 23 Filed 10/25/16 Page 9of9 Page ID #:168

JUDGE MICHAEL W. FITZGERALD
SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

 

Case No. 2:16-cv-05915 MWF (AFMx)

 

XPO Logistics Freight, inc. v. Ginger Galvez

Matter Plaintiff(sy Date Defendant(s) Date Court Order
mo / day / year mo/ day / year

Case Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Tuesday at 8:30 a.m.)
Duration Estimate: 10 Days
Final Pretrial Conference [LR 16] and Hearing on Motions /n Limine 11/13/17 11/13/17
(Monday at 11:00 a.m. -- three (3) weeks before trial date)
Motions /n Limine must be filed three (3) weeks before this date;
oppositions are due two (2) weeks before this date; no reply briefs.
ee
Event Weeks | Plaintiff(s) Date Defendant(s)’ Date Court Order
Before Trial mo/ day / year mo /day /year. |
Last Date to Hear Motion to Amend Pleadings / 02/13/17 02/13/17
Add Parties
Non-Expert Discovery Cut-Off (at least 4 weeks 18 08/01/17 08/01/17
before last date to hear motions)
6/23/17

Expert Disclosure (Initial) 0 06/23/17
Expert Disclosure (Rebuttal) 07/14/17 074/17
Expert Discovery Cut-Off =; 14* 08/29/17 08/29/17
Last Date to Hear Motions (Monday at 10:00 a.m.) 14 08/28/17 08/28/17
Last Date to Conduct Settlement Conference 12 09/12/17 09/12/17
For Jury Trial
# File Memorandum of Contentions of Fact and 6 10/24/17 10/24/17

Law, LR 16-4
¢ File Exhibit and Witness Lists, LR 16-5.6
¢ File Status Report Regarding Settlement
¢@ File Motions /n Limine
For Jury Trial
¢@ Lodge Pretrial Conference Order, LR 16-7 5 10/31/17 10/31/17
¢ File Agreed Set of Jury Instructions and Verdict

Forms ,
@ File Statement Regarding Disputed Instructions,

Verdicts, etc.
¢ File Oppositions to Motions in Limine
For Court Trial 3
@ Lodge Findings of Fact and Conclusions of Law,

LR 52, and Summaries of Direct Testimony

 

 

 

 

 

 

 

* The parties may choose to cut off expert discovery prior to MSJ briefing.
ADR [LR 16-15] Selection:
O Attorney Settlement Officer Panel [4 Private Mediation [xX] Magistrate Judge (with Court approval)

EXHIBIT A
